 

Case 2:11-cv-03109- JPM- dkv Document1 Filed 12/20/11 Pagelof8 PagelID1

RECEIVED

"PEC 20 PM hee :

UNITED STATES DISTRICT COURT cE uone HOOD
WESTERN DISTRICT OF TENNESSEE Woe La a
WESTERN DIVISION

fareca. d. Panne.
F164 Oneil Or. |
Mi Ika gton Te, 8 BOSS
(Name of plaintiff or plaintiffs)

v. , CIVIL ACTION NO.

Feo tx  Cimese
3060 Hacks Cress Hoael Glg F Zot Floor
Memphis, Th. I 8/AS—

(Name of defendant or defendants)

COMPLAINT UNDER TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

1. This action is brought pursuant to Title VH of the Civil Rights Act of 1964 for
employment discrimination. Jurisdiction is specifically conferred on the Court by

42 U.S.C. §2000e-5. Equitable and other relief are also sought under 42 U.S.C. §2000e-5(g).

2. Plaintiff, Paereta DJ. Fahne
(name of plaintiff)

is a citizen of the United States and resides at St oF ONEIL DRWE

 

 

 

(street address)

MiLzin6TON . “U.S A. TENSE EE
(city) (country) (state)
FBOS3 Gt. BAP: GICT
(zip code) (telephone number)

Daniand £19 NG

 

 
 

Case 2:11-cv-03109-JPM-dkv Document1 Filed 12/20/11 Page 2of8 PagelD2

3. Defendant Le of Ex xpress
Soa LY s name)
lives at, or its business is located at 5660 Haeks Cr oss K: of,

treet address) _
Memphis U.S A, Tennessee. — PL/RS

 

4. Plaintiff sought employment from the defendant or was employed by the defendant at

F905 Ailwa Ss Boul*tvark | Nota (le er 4

 

 

(street address) *
MNenfphis USA, ~Teanessee. SFIZFR
(city) (country) (state) (zip code)

5. Defendant bow ae plaintiff in the manner indicated in paragraph 9 of
this complaint on or about Larch 009

? la on AG (day) | (month) (year)

6. Defendant filed charges against the defendant with the Tennessee Fair Employment
Commission charging defendant with the acts of discrimination jndicated in paragraph 9 of this
complaint on or about 4

(day) (month) (year)

7. Plaintiff filed charges against the defendant with the Equal Employment Opportunity

Commission charging defendant Me YA acts of discrimination indicated in paragraph 9 of this
complaint on or about March. AOOF

 

(day) (month) (year)
8. The Equal Employment Oppo mney Commission issued a Notice of Right to Sue,
which was received by plaintiff on Oct, oll. (Attach a copy of the notice to

 

Sra (month) (year)

y Disab bo i4+Y
w, ce, (2) —_%lor (3) “religion, L

9. Because of plaintiffs (1) __~ ra c Yoexr(4)
, redaliavion
6)_Vv natione-erigin, defendant

this complaint.)

(a) failed to employ plaintiff.
(b) 4 terminated plaintiff's employment. -
(c) failed to promote plaintiff.

(d)

 

 

 

 

Revised 4-18-08

 
Case 2:11-cv-03109-JPM-dkv Document1 Filed 12/20/11 Page 3o0f8 PagelD3

10. The circumstances under which defendant discriminated against plaintiff were as
follows: cece Mon PlArTUP (CCEWVEN MAT EMC AFTaL
Veh bhelg COUP AWIG TO _KMAGEHET ; + PLA UTTIES SOS
_whS ASIEE) tO THA whe CO- 4&0 PALIT waAS_ACFURD
CSA 7D. AVERT with Pre mcrios. /AnAtHensy DEF Cus phn) ALOUD
wie AERT TO BEANS) Paha S (20 erS COR ACLiy TUPLES,
WO ALAS pldutTIF To MET aver Poducrrn) _

DIABLKNY Dis Hepa SAT Uns. Cebus  obS MEWAC (sues AE LATUIES
Sl Ac pth ATey BTS

TO THe STE SES Faort THESE Dy |

Ze iigigg) Dolce cus (ond 2 PIEVIS PRS, (EAUITUR Te
LORI (lef: WwW he big S OB SAIAKES BT wht DEE) __ Le (THOLET
__ coeesarion) £E: FeoGy Feriguers OpSehubelog four
AT i Ly acgurnsAarios. PLM, wAt SIP
: AuswoGg A Worriu  woltnsG
UpaunersT, (otic Ast FoR. Addritowhe coke —- LE DLE STS

DEVIED ~ wort. BAS Gwe FO PemMunrFry ca- a SEE PGEHOTS
11. The acts set forth in paragraph 9 of this complaint

(a) are still being committed by defendant.

 

 

(b) are no longer being committed by defendant.
(c) Me may stilt be being committed by defendant.

12. Please attach to this complaint a copy of the charges filed with the Equal
Employment Opportunity Commission, which are submitted as a brief statement of the facts
supporting this complaint.

WHEREFORE, Plaintiff prays that the Court grant the following relief to the plaintiff:

(a) Defendant be directed to employ plaintiff, or
(b) Defendant be directed to re-employ plaintiff, or
{c) Defendant be directed to promote plaintiff, or;

(d) _W Defendant be directed to_KEvASITATE EM 7 40y MET ALLOWING
AAmittp_ to LecEWE ehtey CETAEHET BESEFIIS,
My, Cuasizwte DAHbGEL, PY dathGes pote Piru! WSé SAFERWIE

and that the Court grant such other relief as may be appropriate, including injunctive orders,
damages, costs and attorney’s fees.
4 No()

13. L would like to have my case tried by a jury. Yes (

deorebee A Shame

SIGNATURE OF PLAINTIFF |

 

 
 

Case 2:11-cv-03109-JPM-dkv Document1 Filed 12/20/11 Page4of8 PagelD4

Complaint of Pamela D. Farmer vs. FedEx Express

ATTACHMENT - QUESTION 10

1. FedEx was in violation of their own policy which states - Employees are protected by the
company and federal statues from coercion, intimidation, retaliation, interference or discrimination
for filing a complaint or assisting in a complaint. FCIS specifically prohibits such actions on the
part of its management and other employees.

2. Before the resolution of any discrimination or harassment complaint, an employee my not be
involuntarily transferred, reassigned, or subjected to any punitive action without concurrence of
the matrix Human Resources management, and Legal Department.

3. My rights were violated based on this information. I spoke to management regarding the
discrimination prior to being moved out of my original work group.

 

Cee Se ag, ieaeting the Boat of Review. which the case is
automatically forfeited unless it is rescheduled by the Administrator due to extenuating
circumstances. Management is also required to be present.

 

pe ee ee ee aenin tne on. the ints

6. On October 16, 2008, I was sent a racist email.

 

EOC ae 2008. Say previous
performance reviews were excellent. From 2001 through 2007, the lowest rating I received was a
6.7 in 2006.

 

ET Oe canals OU 2008 with FEOC - the write
up in July 2008 was in retaliation.

 

SE Ee ee ie ames os cote the Fula celiac’
tenn

9. A Qne-On-One is an employee’s discussion session regarding general information of certain
desires, goals, and aspirations on a personal view.

10. An Execution Review Board was set to review my performance issues on January 22, 2009, which
I was not allowed to attend.

Revised 4-18-08

 
Case 2:11-cv-03109-JPM-dkv Document1 Filed 12/20/11 Page5of8 PagelD5

11.

12.

13.

14.
15.

16.

2

Management sent me an email July 10, 2008 at 6:06 after hours requesting I meet July 14, 2008 to
discuss claims per hour (cph) at 11:00. I responded the next day Friday, July 11, 2008 and asked
if someone from the FedEx Legal Department could meet as well, or inform me of my rights, all
due to the previous meeting with Kellie and Sue Davis, in which Kellie tried to indicate I was
violent and because of the stress and health issues. I also made a request for her to put everything
in writing to verify what was going on. (I taped this meeting.)

I requested to dispute the write-ups and the presence of someone from the legal
department due to FedEx ethical violations policy which states to report ethical violations
and the rules apply for everyone within FedEx.

I could not understand why the OLCC employee history screen is showing I was issued

the write-up dated July 8, 2008 stating I was issued the written counseling due to CPH for

the month of June. Management conspired to make it appear as if the meeting we had

June 3, 2008 that was suppose to have been addressing my concerns was a set up to start

a paper trail rather than addressing and correcting the abusive treatment, and refusal of

giving me enough work to meet quota all due to retaliation for filing a complaint with the
NAACP in December 2007. This is why I was given the expectation letter on June 11,

2008, which I was not in violation of anything listed. Example: my performance review for 2007
was a 6.8 and I had no prior notifications in my file and based on the email dated March 10, 2008
subject being 2008 EEO Race/Ethnicity Survey NAACP put FedEx on notice.

January 26, 2009- My manger Kelli Cianciola, sent an email verifying I had issues regarding my
email being over quota and this was beyond my control, she also admitted that she refused to give
me back out time to clear this matter up.

In this same email, she also admits she refused to give me a CSA and her reason was

CSA’s required more information. (This reflects direct retaliation. When I was in the special
account group, for almost my entire employment, I became an agent in which I had to process
DMS claims. In 2003, I processed DMS claims only. In 2006, I processed special accounts,
Kinko’s research claims, and DMS; therefore, her reasoning was unfounded. I never had a
problem and in 2006, my lowest performance review was a 6.7 on a7 point scale. CSA’s are no
different than special accounts which management named them in the beginning.)

Also this was not the procedure management followed with Cathy Clark, a caucasian,
Senior Cargo Claims Agent in March of 2008. She was given CSA’s to help meet goal
when the regular claim volume was low.

I sent this email to the Vice President, Casey Zettler, to make him aware again, but
nothing was done.

On Febraary 3, 2009 - I was struck by a an SUV driven by an employee of FedEx which
traumatized me because of the other issues I encountered, and with my tire on my car being cut
twice, made me concerned for my safety.

Management harassed me after I filed a complaint.

Management created the hostile environment.

Management refused to give me enough work to meet daily productivity.

Complaint of Pamela D. Farmer vs. FedEx Express
ATTACHMENT - QUESTION 10

Revised 4-18-08

 

 
Case 2:11-cv-03109-JPM-dkv Document1 Filed 12/20/11 Page 6of8 PagelD6

17.

18.

19.

20.

21.

22.

23.

24.

25.

26.

27.

3

Management refused to give me CSA’s like all my peers to help meet productivity when the
regular volume was low or claims could not be closed for credit.

Through surveillance, management gated other Agent’s calls to come to me for research as a
distraction.

Management allowed certain co-workers to harass me about their work coming to my desk
confronting me and doing nothing.

In November 2008, I complained about not being treated fair and not receiving my performance
review on time. In December 2008 I was given the review which gave me a very low rating - the
date of this review was falsified to read that it was performed in March.

I was humiliated and suspended with the reason of the suspension being “I threatened
management.”

I was given a written reprimand when I requested management save a taped call that came in
through the “nice system” to show that I was being harassed by internal callers which was part of a
Management refused me a witness in the meetings to verify the harassment and conspiracy.

Management purposely harassed and threatened me by tampering with my computer and
sabotaging my work to affect my health through undue stress.

Management conspired with FedEx Disability FLMA to prevent me form receiving compensation
which they caused by putting me through undue stresses; instead they did everything possible to
prevent me from being productive.

Management seemed disinterested when I informed them that my automobile tire had been cut
twice while I was parked on FedEx property. Secondly, I informed a co-worker that my life had
been threatened by a freight truck while driving on Airways Boulevard while leaving work.
Thirdly, in February 2009 I was injured in an automobile accident with a fellow FedEx employee
who stated (he) “didn ’t know what happened in the accident.” The irony is that FedEx security
came to the accident which was “off FedEx property” and the management personnel who
stated I threatened her continuously called me and stated that she had came to the accident
inquiring “How I was doing.” After returning to work after the automobile accident, on
Thursday, March 12, 2009 I was informed I was “terminated due to non-production for Friday,
March 13, 2009”. Production for Friday, March 13, 2009 was impossible for me to perform

being I was terminated the day before, Thursday, March 12, 2009. \ also received written
communication from FedEx Human Resources Department that my insurance was canceled

effective the date of my termination, Thursday, March 12, 2009. This was ALL a part of their
conspiracy.

My complaint from the beginning was that management refused to give me enough productive
work to meet expected daily goals; thereby, causing my productivity to suffer directly affecting
my performance.

Complaint of Pamela D. Farmer vs. FedEx Express
ATTACHMENT - QUESTION 10

Revised 4-18-08

 

 
 

Case 2:11-cv-03109-JPM-dkv Document1 Filed 12/20/11 Page 7of8 PagelD 7
4

28. While management was conspiring to terminate and make job performance harder for Afro-
Americans, they were creating positions for Caucasians. Caucasians were placed over certain work
groups and given special assignments while certain Afro-Americans were refused the opportunity
to bid on open positions. An example is the position created for Rosa Doles, in which the
management director stated “she (Rosa) had asked to be demoted.” The non-posting of Rosa’s
open position was unfair to every Afro-American with higher seniority than Rosa. I was targeted
because I spoke against the unethical matters that were created and put into place.

29. I sent email communiqué to my immediate manager and the Vice President of FedEx FCIS. I also
requested an Open Door and I was refused this due process, as well as, not allowed to attend the
board Review Meeting while being harassed and distracted. I was also disallowed to attend
meetings when I stated that I was receiving unfair treatment from management of not giving me
enough work and being penalized instead of correcting the matter.

30. In December 2007, I filed a complaint with NAACP. On January 11, 2008, Jack Henderson, the
Human Resources Representative, requested a meeting with me to address my concerns. (I
recorded this meeting due to past history of FedEx EEO Department not addressing issues of
discrimination.) Management was promoting Caucasians over Afro-Americans and closing posted
job openings stating “they were posted in error no one met qualifications of the open job.”

31. Management conspired to sabotage my work, computer and gated other Agent’s calls and work to
me through surveillance. Management took away my productive work; thereby, giving me
research work that could not be closed. This would make my productivity suffer and I would not
receive credit. Management had also assigned three (3) functions to me: Special Accounts,
Kinko’s and DMS Claims.

32. My previous work performance reviews were excellent, such as 6.7, on a scale where the highest
performance review score is 7.0.

33. Management later stated that Special Account Group that I was a part of the with Joyce Ervin and
Annette Moore no longer had enough work for ALL three (3) of us to meet production.
Management also stated that because they had more company seniority, I needed to be moved to
another work group; thereby, giving them and the DMS Work Group ALL of my productive
accounts. The DMS Work Group already had Special Accounts / CSA’s to assist them in making
their production when there was not enough regular work and the volume was low. Management
stated I couldn’t have this type of work knowing that if I was afforded the same opportunity as my
peers, I would have been just as productive or produced more given my work history prior to this
conspiracy.

34. Every time I complained about my computer not working properly, other Agent’s calls were being
gated to come to me in a continuous matter - back-to-back calls or the type work assigned to me
would be research. Instead of being truthful and handling the matter, management would harass
me by stating my production was low and that no one else in the department was experiencing the
same issues.

 

Complaint of Pamela D. Farmer vs. FedEx Express
ATTACHMENT - QUESTION 10

Revised 4-18-08

 
 

Case 2:11-cv-03109-JPM-dkv Document1 Filed 12/20/11 Page 8of8 PagelD8
5

35, Management developed a Peer Coaching Process as a part of their conspiracy to make it appear
that if a DMS employee was targeted it would appear as if he was having a problem and this was a
tool to help the employee; however, this was not the case. Other groups developed were as
follows: EAU Group: consisted of one (1) Afro-American; Sales Assist Group consisted of NO
Afro-Americans and the DMS Group: consisted of mostly Afro-Americans while the Caucasians
that were in this group were placed over Afro-Americans by way of assisting management or by
way of special projects. This group also had NO accountability and consisted of mostly confusion,
disarray and work avoidance. I was removed from the Special Accounts Group where I had been a
member since becoming an Agent. This group was exempt from the Peer Coaching Process.

36. Due to the hostile environment that was being created for me and the cover-ups, I had to seek
medical assistance due to all of the undue stress adversely affecting my health. Management was
using the same conspiracy they had used before when I filed my first EEO complaint.
Management called one meeting in which I was harassed and singled out for retraining.
Management also implied that I was violent. I then requested a witness or a FedEx legal
representative to be in ALL other meetings. I was denied. I also requested their concerns be given
to me in written form due to my health issues during this time. My request was again denied and I
was told I was being insubordinate. These denied requests are attempts of management’s
continued efforts to grossly affect my health even more. I spoke to Jack Henderson via telephone
the same day I received a written reprimand informing him of the conspiracy and I taped the
conversation.

37. Before I filed the EEO complaint on June 20, 2008, my record was perfect. I had received several
compliments from management and from customers. I received Special Recognition Awards and

BZ Checks. I was once awarded Top Producer in the entire department in processing claims - my
record speaks for itself!

38. Management manufactured the statistics, if I was lacking in productivity I would have been issued
a written reprimand before July 2008.

Complaint of Pamela D. Farmer vs. FedEx Express
ATTACHMENT - QUESTION 10

Revised 4-18-08

 

 
